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                  EXHIBIT E
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on behalf of Case No.: 2:23-cv-01165
  all others similarly situated,
                                 Plaintiff,
          v.

  ZAC PRINCE, FLORI MARQUEZ, TONY
  LAURA, JENNIFER HILL and GEMINI
  TRADING, LLC,

                                  Defendants.



   [PROPOSED] ORDER APPOINTING LEAD PLAINTIFFS AND LEAD COUNSEL

Upon good cause shown, IT IS HEREBY ORDERED THAT:

   1. The Motion for Movants Appointment as Lead Plaintiffs and Approval of Selection of

       Counsel is granted.

   2. Pham Duy Anh, Dang, Trey Greene and Arman Reyes are hereby appointed as Lead

       Plaintiffs for the proposed Class pursuant to 15 U.S.C. § 78u-4, as amended by the

       Private Securities Litigation Reform Act of 1995.

   3. Squitieri & Fearon LLP and Moore Kuehn PLLC are hereby appointed as Lead Counsel

       for the proposed Class.




SO ORDERED:

 Dated: __________, 2023
                                            UNITED STATES DISTRICT JUDGE
